                         Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 1 of 34



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          17                                         UNITED STATES DISTRICT COURT

          18                                        NORTHERN DISTRICT OF CALIFORNIA

          19

          20       Lorenza Gomez, as next friend for J.G., a           Case No. 3:17-cv-03615-VC
                   minor, and on her own behalf, et al.,
          21                                                           PLAINTIFFS’ CONSOLIDATED REPLY
                                Petitioners/Plaintiffs, on behalf of   MEMORANDUM:
          22
                                themselves individually and others        (1) IN SUPPORT OF MOTION FOR
          23                    similarly situated,                       PRELIMINARY INJUNCTION; AND
                                                                          (2) IN SUPPORT OF MOTION FOR
          24               v.                                             PROVISIONAL CLASS CERTIFICATION
          25       Jefferson B. Sessions, et al.,                      Date:           October 26, 2017
                                                                       Time:           10:00 a.m.
          26                    Respondents/Defendants.                Location:       Courtroom #4
                                                                       Judge:          Hon. Vince Chhabria
          27

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 SAN FRANCISCO                                                                                 CASE NO. 3:17-CV-03615-VC
                          Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 2 of 34



            1                                                         TABLE OF CONTENTS
            2                                                                                                                                            Page
            3

            4      I.      INTRODUCTION ................................................................................................................... 1
                   II.     OBJECTIONS TO DEFENDANTS’ EVIDENCE.................................................................. 1
            5
                   III.    RELEVANT BACKGROUND ............................................................................................... 3
            6      IV.     THE COURT SHOULD GRANT PLAINTIFFS’ MOTION FOR PRELIMINARY
                           INJUNCTION .......................................................................................................................... 5
            7
                           A.   The Relief Sought by Plaintiffs is Appropriate and Reasonable ................................. 5
            8              B.   Plaintiffs Have Shown a Likelihood of Success on the Merits .................................... 6
            9                   1.      Plaintiffs Do Not Need a “Private Right of Action” to Raise Violations
                                        of the TVPRA, and, Regardless, the TVPRA Provides Such a Right ............. 6
          10                    2.      Plaintiffs Are Likely to Succeed on Their Unlawful Arrest Claims ................ 7
          11                    3.      Plaintiffs Are Likely to Succeed on Their Procedural Due Process
                                        Claims ............................................................................................................ 11
          12                    4.      Plaintiffs Are Likely to Succeed on the Merits of Their Substantive
                                        Due Process and Flores Claims...................................................................... 15
          13
                                5.      The Harm to Plaintiffs, the Balance of the Equities, and the Public
          14                            Interest All Weigh in Favor of Plaintiffs’ Requested Relief.......................... 18
                                6.      The Court Should Order the Release of the Named Children ....................... 19
          15
                   V.      THE COURT SHOULD PROVISIONALLY CERTIFY THE PROPOSED CLASS .......... 20
          16               A.   Plaintiffs Meet the Requirements for Class Certification Under Rule 23 ................. 20
          17                    1.      The Proposed Class Is so Numerous that Joinder Is Impracticable ............... 21
                                2.      Plaintiffs’ Class Claims Present Common Questions With Common
          18                            Answers.......................................................................................................... 23
          19                    3.      Plaintiffs Satisfy the Requirements of Rule 23(b)(2) .................................... 24
                   VI.     CONCLUSION ...................................................................................................................... 25
          20

          21

          22

          23

          24

          25

          26

          27

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  COOLEY LLP
                                                                                                          PLAINTIFFS’ CONSOLIDATED REPLY BRIEF
ATTORNEYS AT LAW
                                                                                      i.
 SAN FRANCISCO                                                                                                        CASE NO. 3:17-CV-03615-VC
                           Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 3 of 34



            1                                                        TABLE OF AUTHORITIES
            2                                                                                                                                             Page
            3      Cases
            4      Addington v. Texas,
                      441 U.S. 418 (1979) .......................................................................................................................14
            5

            6      Alli v. Decker,
                       650 F.3d 1007 (3d Cir. 2011)...........................................................................................................9
            7
                   Armstrong v. Exceptional Child Ctr., Inc.,
            8         135 S. Ct. 1378 (2015) .................................................................................................................1, 7

            9      Barnes v. Healy,
                      980 F.2d 572 (9th Cir. 1992) .........................................................................................................14
          10
                   Beltran v. Cardall,
          11
                       222 F. Supp. 3d 476 (E.D. Va. 2016) ................................................................................13, 14, 19
          12
                   Boumediene v. Bush,
          13          553 U.S. 723 (2008) .........................................................................................................................6

          14       Boyd v. City of Oakland,
                      458 F. Supp. 2d 1015 (N.D. Cal. 2006) ...........................................................................................2
          15
                   Briseno v. ConAgra Foods, Inc.,
          16           844 F.3d 1121 (9th Cir. 2017) .......................................................................................................24
          17
                   Bruce v. Christian,
          18          113 F.R.D. 554 (S.D.N.Y. 1986) .............................................................................................21, 23

          19       Bublitz v. E.I. du Pont de Nemours & Co.,
                      202 F.R.D. 251 (S.D. Iowa 2001) ..................................................................................................21
          20
                   Califano v. Yamasaki,
          21          442 U.S. 682 (1979) .........................................................................................................................9
          22
                   Civil Rights Educ. & Enf’t Ctr. V. Hosp. Props. Trust,
          23          317 F.R.D. 91 (N.D. Cal. 2016) .....................................................................................................22

          24       Cnty. of Santa Clara v. Trump,
                      Nos. 17-cv-0574, 17-cv-0485, 2017 WL 1459081 (N.D. Cal. Apr. 25, 2017) ..............................19
          25
                   Cole v. City of Memphis,
          26          839 F.3d 530 (6th Cir. 2016) ...................................................................................................24, 25
          27       Cypress v. Newport News Gen. & Nonsectarian Hosp. Ass’n,
          28          375 F.2d 648 (4th Cir. 1967) .........................................................................................................21
  COOLEY LLP
                                                                                                           PLAINTIFFS’ CONSOLIDATED REPLY BRIEF
ATTORNEYS AT LAW
                                                                                       ii.
 SAN FRANCISCO                                                                                                         CASE NO. 3:17-CV-03615-VC
                           Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 4 of 34



            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                             Page
            3      Dale Elecs., Inc. v. R.C.L. Elecs., Inc.,
                      53 F.R.D. 531 (D.N.H. 1971) ........................................................................................................21
            4
                   Demery v. Arpaio,
            5
                     378 F.3d 1020 (9th Cir. 2004) .......................................................................................................20
            6
                   Demjanjuk v. Meese,
            7        784 F.2d 1114 (D.C. Cir. 1986) .....................................................................................................20

            8      Dura Pharms., Inc. v. Broudo,
                      544 U.S. 336 (2005) .........................................................................................................................7
            9
                   Easy Riders Freedom F.I.G.H.T. v. Cal. Highway Patrol,
          10          92 F.3d 1486 (9th Cir. 2010) .........................................................................................................25
          11
                   Escalante v. Cal. Physicians’ Serv.,
          12          309 F.R.D. 612 (C.D. Cal. 2015) ...................................................................................................24

          13       Goss v. Lopez,
                      419 U.S. 565 (1975) .......................................................................................................................12
          14
                   GoTo.com, Inc. v. Walt Disney Co.,
          15          202 F.3d 1199 (9th Cir. 2000) .........................................................................................................5
          16       Matter of Grijalva,
          17          19 I.&N. Dec. 713 (BIA 1988) ......................................................................................................15

          18       Grimaldo v. Reno,
                      187 F.R.D. 643 (D. Colo. 1999) ......................................................................................................8
          19
                   Hernandez v. Sessions,
          20          No. 16-cv-56829, 2017 WL 4341748 (9th Cir. Oct. 2, 2017) ............................................... passim
          21       Hilton v. Braunskill,
          22           481 U.S. 770 (1987) .......................................................................................................................19

          23       INS v. St. Cyr,
                      533 U.S. 289 (2001) .....................................................................................................................6, 8
          24
                   Int’l Molders’ and Allied Workers’ Local Union No. 164 v. Nelson,
          25           799 F.2d 547 (9th Cir. 1986) .........................................................................................................10
          26       Khoury v. Asher,
                      3 F. Supp. 3d 877 (W.D. Wash. 2014) .............................................................................................9
          27

          28
  COOLEY LLP
                                                                                                                     PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                       iii.
 SAN FRANCISCO                                                                                                            CASE NO. 3:17-CV-03615-VC
                           Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 5 of 34



            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                             Page
            3      L.H. v. Schwarzenegger,
                      519 F. Supp. 2d 1072 (E.D. Cal. 2007)............................................................................................2
            4
                   LaDuke v. Nelson,
            5
                      762 F.2d 1318 (9th Cir. 1985) .......................................................................................................10
            6
                   Lassiter v. Dep’t of Soc. Servs.,
            7         452 U.S. 18 (1981) .........................................................................................................................13

            8      Latta v. Otter,
                       771 F.3d 496 (9th Cir. 2014) .........................................................................................................18
            9
                   Lopez v. Heckler,
          10          725 F.2d 1489 (9th Cir. 1984), 469 U.S. 1082 (1984).....................................................................5
          11
                   Lyon v. U.S. Immigration and Customs Enf’t,
          12          300 F.R.D. 628 (2014) .............................................................................................................22, 24

          13       M.S.P.C. v. Customs & Border Prot.,
                      60 F.Supp.3d 1156 (D.N.M. 2014) ................................................................................................12
          14
                   Marlyn Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co.,
          15         571 F.3d 873 (9th Cir. 2009) ...........................................................................................................5
          16       Mathews v. Eldridge,
          17          424 U.S. 319 (1976) .................................................................................................................11, 14

          18       McCluskey v. Tr. of Red Dot Corp. Emp. Stock Ownership Plan & Trust,
                     268 F.R.D. 670 (W.D. Wash. 2010) ........................................................................................22, 23
          19
                   Miranda-Olivares v. Clackamas Cnty.,
          20          No. 12-cv-2317, 2014 WL 1414305 (D. Or. Apr. 11, 2014) ...........................................................9
          21       Nguyen Da Yen v. Kissinger,
          22          528 F.2d 1194 (9th Cir. 1975) .........................................................................................................7

          23       Nken v. Holder,
                      556 U.S. 418 (2009) .........................................................................................................................9
          24
                   Northstar Fin. Advisors, Inc. v. Schwab Invs.,
          25          615 F.3d 1106 (9th Cir. 2010) .........................................................................................................7
          26       Oliva-Ramos v. Att’y Gen.,
                      694 F.3d 259 (3d Cir. 2012)...........................................................................................................10
          27

          28
  COOLEY LLP
                                                                                                                     PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                       iv.
 SAN FRANCISCO                                                                                                            CASE NO. 3:17-CV-03615-VC
                           Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 6 of 34



            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                              Page
            3      Opera Plaza Resid. Parcel Homeowners Ass’n v. Hoang,
                      376 F.3d 831 (9th Cir. 2004) ...........................................................................................................7
            4
                   Orr v. Bank of Am., NT & SA,
            5
                      285 F.3d 764 (9th Cir. 2002) ...........................................................................................................2
            6
                   Peyton v. Rowe,
            7         391 U.S. 54 (1968) .........................................................................................................................20

            8      Planned Parenthood of Greater Tex. v. Abbott,
                      734 F.3d 406 (5th Cir. 2013) .........................................................................................................18
            9
                   Preminger v. Principi,
          10          422 F.3d 815 (9th Cir. 2005) .........................................................................................................18
          11
                   R.I.L.-R. v. Johnson,
          12           80 F. Supp. 3d 164 (D.D.C. 2015) .............................................................................................9, 19

          13       Reid v. Donelan,
                      297 F.R.D. 185 (D. Mass. 2014) ......................................................................................................9
          14
                   Rodriguez v. Hayes,
          15          591 F.3d 1105 (9th Cir. 2010) .....................................................................................................8, 9
          16       Rodriguez v. Robbins,
          17          715 F.3d 1127 (9th Cir. 2013) .......................................................................................................18

          18       Rosas v. Baca,
                      No. 12-cv-0428, 2012 WL 2061694 (C.D. Cal. June 7, 2012) ......................................................23
          19
                   Rubinstein v. Brownell,
          20          206 F.2d 449 (D.C. Cir. 1953), aff’d, 346 U.S. 929 (1954)...........................................................10
          21       Saavedra v. Scribner,
          22          482 F. App’x. 268 (9th Cir. 2012) .................................................................................................14

          23       Santos v. Smith,
                      No. 17-cv-0020, 2017 WL 2389722 (W.D. Va. June 1, 2017) ..........................................12, 14, 19
          24
                   Schall v. Martin,
          25          467 U.S. 253 (1984) .......................................................................................................................14
          26       Shalala v. Ill. Council on Long Term Care, Inc.,
                      529 U.S. 1 (2000) ...........................................................................................................................17
          27

          28
  COOLEY LLP
                                                                                                                     PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                        v.
 SAN FRANCISCO                                                                                                            CASE NO. 3:17-CV-03615-VC
                           Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 7 of 34



            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                            Page
            3      Shelton v. Bledsoe,
                      775 F.3d 554 (3d Cir. 2015)...........................................................................................................24
            4
                   Shook v. El Paso Cnty.,
            5
                      386 F.3d 963 (10th Cir. 2004) .................................................................................................24, 25
            6
                   Singh v. Holder,
            7         638 F.3d 1196 (9th Cir. 2011) .........................................................................................................9

            8      Stanley v. Illinois,
                      405 U.S. 645 (1972) .......................................................................................................................14
            9
                   Stanley v. Univ. of S. Cal.,
          10          13 F.3d 313 (9th Cir. 1994) .............................................................................................................5
          11
                   Tanner Motor Livery, Ltd. v. Avis, Inc.,
          12          316 F.2d 804 (9th Cir. 1963) ...........................................................................................................5

          13       United States v. Barajas-Alvarado,
                      655 F.3d 1077 (9th Cir. 2011) .......................................................................................................12
          14
                   United States v. Bennett,
          15          363 F.3d 947 (9th Cir. 2004) ...........................................................................................................2
          16       United States v. Kordosky,
          17          No. 88-cr-0052, 1988 WL 238041 (W.D.Wis. Sept. 12, 1988) .....................................................11

          18       United States v. Novelli,
                      381 F. Supp. 2d 1125 (C.D. Cal. 2005) ...........................................................................................2
          19
                   Walters v. Reno,
          20          145 F.3d 1032 (9th Cir. 1998) .......................................................................................................23
          21       Willner v. Manpower Inc.,
          22          No. 11-CV-02846-JST, 2014 WL 2939732 (N.D. Cal. June 30, 2014) ........................................20

          23       Yaffe v. Powers,
                       454 F.2d 1362 (1st Cir. 1972) ........................................................................................................24
          24
                   In re Yahoo Mail Litig.,
          25           308 F.R.D. 577 (N.D. Cal. 2015) ...................................................................................................24
          26       Zadvydas v. Davis,
                      533 U.S. 678 (2001) .......................................................................................................................19
          27

          28
  COOLEY LLP
                                                                                                                    PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                       vi.
 SAN FRANCISCO                                                                                                           CASE NO. 3:17-CV-03615-VC
                            Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 8 of 34



            1                                                           TABLE OF AUTHORITIES
                                                                              (continued)
            2                                                                                                                                                       Page
            3      Statutes and Other Authorities
            4      5 U.S.C.
                      § 706(2)(A) ......................................................................................................................................7
            5

            6      8 U.S.C.
                      § 1226...............................................................................................................................................9
            7         § 1226(e) ..........................................................................................................................................9
                      § 1232(a)(1), (a)(4), (a)(5)(D), (d)(2) ..............................................................................................7
            8         §§ 1252(a)(2)(A), (B), (C), 1252(a)(4), (5), 1252(g) .......................................................................8
                      § 1252(f)(1) ..............................................................................................................................7, 8, 9
            9         § 1357(d) ........................................................................................................................................10
          10
                   28 U.S.C.
          11          § 2241(c)(3) .....................................................................................................................................6

          12       8 C.F.R.
                      § 287.7............................................................................................................................................10
          13          § 1003.19........................................................................................................................................14
          14       78 Tex. L. Rev. 1661 (2000) ..................................................................................................................8
          15       Administrative Procedure Act................................................................................................6, 7, 18, 20
          16
                   Fourth Amendment ....................................................................................................................9, 10, 11
          17
                   Fed. R. Civ. P. 56(c)(4) ..........................................................................................................................1
          18
                   Fed. R. Evid.
          19          602....................................................................................................................................................2
                      701(a) ...............................................................................................................................................3
          20          802....................................................................................................................................................2
          21          1002..................................................................................................................................................2

          22       Federal Courts Issues in Immigration Law ...........................................................................................8

          23       H.R. Rep. No. 104-469 (1996) ...............................................................................................................8

          24

          25

          26

          27

          28
  COOLEY LLP
                                                                                                                           PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                           vii.
 SAN FRANCISCO                                                                                                                  CASE NO. 3:17-CV-03615-VC
                         Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 9 of 34



            1      I.     INTRODUCTION

            2             The Government’s opposition brief, Dkt. 67, does not seriously dispute any of the facts that

            3      establish the merits of Plaintiffs’ claims, including facts concerning the arrests, initial placement

            4      decisions, and ongoing treatment of the Named Children. Instead, it relies on incompetent evidence

            5      in an effort to paper over its initial placement determinations.1

            6             The Government asserts that federal law and the Constitution permit it to rearrest a

            7      Sponsored UC based on charges of removability that have not changed since the child was first

            8      released from ORR custody, then transport that child thousands of miles away from his family and

            9      put him in secure custody without affording the child any opportunity to show he should not be

          10       detained. The Government argues that, once the child has been put in juvenile lockup, the statute

          11       allows it to keep the child in some form of detention indefinitely. This system is permissible, the

          12       Government says, because (1) ORR has an “operational goal” to “step down” the child to a less

          13       harsh form of confinement when the original allegations of gang involvement are found to be

          14       unreliable, and (2) because the child can request a bond hearing where the child bears the burden of

          15       proving that he is not a gang member or a danger to himself or others, and in which the judge cannot

          16       order the child’s release.

          17              This system cannot be constitutional. The law and the facts demonstrate that the

          18       Government’s arrest, original placement in jail-like conditions, and continued detention of the

          19       Named Children violates their statutory and constitutional rights, and that the Government’s

          20       unlawful policies and practices extend to the proposed Class. This Court should grant Plaintiffs’

          21       request for provisional class certification and preliminary injunctive relief.

          22       II.    OBJECTIONS TO DEFENDANTS’ EVIDENCE

          23              Pursuant to Civ. L.R. 7-5(b) and Fed. R. Civ. P. 56(c)(4), Plaintiffs object to, and move to

          24       strike, portions of the declarations of Joseph Pisciotta: Dkt. 67-2 (A.H.), ¶¶ 4-10; Dkt. 67-3 (F.E.),

          25       ¶¶ 4-6; and Dkt. 67-4 (J.G.), ¶¶ 4-5. Mr. Pisciotta, a line agent with the Homeland Security

          26
                   1
          27         For purposes of this memorandum, “Defendants” refers to all Defendants, and “the Government”
                   refers to all federal defendants. As needed, Brent Cardall and Jose Esquivel are referred to by name
          28       as “Defendant Cardall” and “Defendant Esquivel.”
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ATTORNEYS AT LAW
                                                                     1.
 SAN FRANCISCO                                                                                  CASE NO. 3:17-CV-03615-VC
                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 10 of 34



            1      Investigations (“HSI”) division of DHS, improperly (1) paraphrases hearsay police reports created

            2      by unnamed officers of the Suffolk County Police Department (“SCPD”); (2) offers hearsay

            3      statements and conclusions of unnamed persons within HSI; and (3) offers lay opinion not based on

            4      personal perception. Plaintiffs cannot address each inadmissible statement due to space constraints,

            5      but present typical examples of each.

            6             Lack of Personal Knowledge. Mr. Pisciotta does not have personal knowledge of the

            7      underlying facts or events pertaining to the Named Children, in violation of Fed. R. Evid. 602. See

            8      Boyd v. City of Oakland, 458 F. Supp. 2d 1015, 1023 (N.D. Cal. 2006); L.H. v. Schwarzenegger, 519

            9      F. Supp. 2d 1072, 1078–79 (E.D. Cal. 2007).

          10              Hearsay. All of the alleged facts supporting the claims of gang affiliation of the Named

          11       Children are based on statements by unnamed persons within or even outside of SCPD, or on SCPD

          12       records that contain multiple levels of hearsay, in violation of Fed. R. Evid. 802.2 See Orr v. Bank of

          13       Am., NT & SA, 285 F.3d 764, 779 (9th Cir. 2002).

          14              Best Evidence Rule. Mr. Pisciotta repeatedly characterizes hearsay documents instead of

          15       introducing them, in violation of Fed. R. Evid. 1002.3 See United States v. Bennett, 363 F.3d 947,

          16       954 (9th Cir. 2004) (agent could not testify about data obtained from GPS device without

          17       introducing data); United States v. Novelli, 381 F. Supp. 2d 1125, 1129 (C.D. Cal. 2005).4

          18

          19       2
                     To cite one example: “On February 27, 2017, F.E. and another student were involved in causing a
                   disturbance at Brentwood High School. . . . While in the Principal’s office, F.E.’s notebook was
          20       observed to have ‘503’ written on it.” Dkt. 67-3, ¶ 4a. There is no mention of even the name of any
          21       percipient witness. Perhaps the alleged “disturbance” was reported by someone to a school resource
                   officer, who reported it to the principal, who reported it to SCPD. Someone at SCPD (who may
          22       have been different from the person who received the information) then wrote a police report, which
                   someone at HSI (apparently not Mr. Pisciotta) read. This could involve up to six levels of hearsay.
          23       3
                     See, e.g., Dkt. 67-2, ¶¶ 4a-b (seeking to describe details of arrests of A.H. “[a]ccording to records
          24       provided by local law enforcement”); Dkt. 67-4, ¶ 4d (“I have reviewed photographs provided by
                   SCPD showing J.G. throwing gang signs”); Dkt. 67-3, ¶ 5 (“F.E. was involved with a disturbance
          25       with an individual positively identified by SCPD as a MS-13 gang member.”).
                   4
                     This is particularly critical with respect to the claim that A.H. “self admitted to [SCPD] PO Viar as
          26       a MS 13 gang member.” Defendants fail to present a sworn statement from Officer Viar even though
          27       Mr. Pisciotta claims to have “worked closely with” the “SCPD Gang Unit,” Dkt. 67-2, ¶ 1. Mr.
                   Pisciotta also fails to disclose that the SCPD police report he appears to quote also says that A.H.
          28       “did not admit to being a gang member.” Corkery Dec., Dkt. 61-2, Ex. E (HHS), at 245.
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ATTORNEYS AT LAW
                                                                    2.
 SAN FRANCISCO                                                                                CASE NO. 3:17-CV-03615-VC
                          Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 11 of 34



            1              Impermissible Lay Opinion Testimony. Defendants have not attempted to qualify Mr.

            2      Pisciotta as an expert in any subject matter.5 Thus he may only express opinions to the extent that

            3      they are “rationally based on [his] perception.” Fed. R. Evid. 701(a). His statements that each of the

            4      Named Children is a gang member; his lay opinions about the meaning of certain symbols, artifacts

            5      and colors; and statements as to what SCPD or other “New York State law enforcement agencies”

            6      believe are all inadmissible. Dkt. 67-2, ¶¶ 4-10; Dkt. 67-3, ¶¶ 4-6; Dkt. 67-4, ¶¶ 4-5.

            7      III.    RELEVANT BACKGROUND
            8              The following facts are conclusively established because Defendants have introduced them,

            9      have not attempted to rebut them, or have responded with inadmissible evidence.

          10               The three Named Children, each of whom had previously been released by ORR to a

          11       sponsor, were rearrested by DHS under arrest warrants based on their removability—the same basis

          12       for removal proceedings already pending against them. Dkt. 67-2, at 8; Dkt. 67-3, at 7; Dkt. 67-4, at

          13       6. DHS instructed ORR to place each of the children in secure confinement based solely on

          14       allegations of gang membership. Corkery Dec., Dkt. 61-2, Ex. B (De La Cruz Test.) at 5:6-10, 5:23-

          15       6:2. These allegations were made by SCPD, whose Commissioner has testified to Congress that he

          16       views DHS immigration enforcement as a “tool” to “remove . . . people from our streets” when

          17       police lack sufficient information to make an arrest. Id., Ex. I (Sini Test.) at 11. Pursuant to a newly

          18       adopted policy that

          19                          ORR immediately ordered each of the children to secure detention, without any

          20       attempt to verify the truth of the gang allegations. Corkery Dec., Dkt. 61-2, Ex. E (HHS) at 3729; id.,

          21       Ex. B at 53:13-21. To achieve this result, supervisory personnel

          22                                                                                                      Corkery

          23       Dec., Dkt. 61-2, Ex. E (HHS), at 2551-56; Nanos Dec., Dkt. 61-19, Ex. 7.

          24               According to Mr. Pisciotta, DHS labels a child as a “gang member” if he falls under two of

          25       the following criteria, and as a “gang associate” if he falls under just one of them: “frequents an area

          26
                   5
          27        This omission stands in sharp contrast with the declarations of Plaintiffs’ experts, Ms. Cruz and Dr.
                   Fortuna (Dkt. 60-7 and 61-8, respectively), each of which contains detailed biographical material
          28       and qualifications.
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 12 of 34



            1      notorious for gangs”; “associates with known gang members”; is “identified” as a gang member,

            2      even by an “untested informant”; or “has been identified through documented reasonable suspicion.”

            3      Dkt. 67-2, 67-3, 67-4, ¶ 3(b), (e), (j). The vague allegations Mr. Pisciotta uses to support conclusions

            4      of gang membership for the Named Children do not specify particular people, locations, or alleged

            5      gang symbols or colors. These are precisely the kinds of ambiguous, unsourced allegations that,

            6      according to Plaintiffs’ expert Susan Cruz, law enforcement often misunderstands or overstates, and

            7      that are often based on generalized suspicions or racial profiling. See Dkt. 67-2, ¶¶ 4-10; Dkt. 67-3,

            8      ¶¶ 4-6; Dkt. 67-4, ¶ 4; Cruz Dec., Dkt. 61-7, ¶¶ 10-24.

            9             Four months after the Named Children’s arrests, Defendants’ evidentiary submissions (the

          10       Sualog and Pisciotta declarations) appear to rely exclusively on the original SCPD arrest records and

          11       show no post-arrest investigation, despite the Court’s order to investigate the claimed basis for

          12       A.H.’s arrest. Tr. 6/29/17, Dkt. 22, at 7:10-17. This is consistent with Defendant Cardall’s

          13       admissions that the Government failed to provide evidence of alleged gang affiliation with respect to

          14       at least seven undocumented teenagers sent to Yolo and that Yolo staff found corroboration of gang

          15       allegations from local law enforcement agencies often to be “lacking or insufficient.” Corkery Dec.,

          16       Dkt. 61-2, Ex. C (RFA Resp.), at 2-3. This led to Yolo’s conclusion that it “did not have just cause to

          17       detain most of the undocumented teenagers.” Id. at 3.

          18              Moreover, all three Named Children have been “stepped down” from secure confinement,

          19       consistent with the “new operational goal” of ORR to transfer a UC from “secure” to “staff secure”

          20       where “(1) no documentation . . . to support gang involvement is presented to ORR . . . ; (2) the UC

          21       does not disclose gang involvement, and (3) there is no other evidence of gang involvement.” Sualog

          22       Dec., Dkt. 67-1, ¶¶ 3-4. In other words, ORR stepped the children down because it has “no

          23       documentation” and “no other evidence of gang involvement.” Despite this lack of evidence, each of

          24       the Named Children remains in ORR detention, four months after their arrests.

          25              Despite the recommendations of ORR’s own federal field specialists and positive home study

          26       reports for F.E. and J.G., Kempner Dec., Ex. A. (HHS), at 822-42, 1788-814, none of the children

          27       has been released or reunified with a sponsor, and ORR appears to have no plan to release them.

          28       Instead, DHS and ORR regurgitate every claim of gang affiliation made by SCPD, no matter how
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                         Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 13 of 34



            1      discredited or unsupported, to justify the continued detention of the Named Children. The current

            2      Administration intends to

            3                                                                . Corkery Dec., Dkt. 61-2, Ex. E (HHS), at

            4      3729.

            5      IV.     THE COURT SHOULD GRANT PLAINTIFFS’ MOTION FOR PRELIMINARY
                           INJUNCTION
            6

            7              A.     The Relief Sought by Plaintiffs is Appropriate and Reasonable

            8              The Government misunderstands the distinction between prohibitory and mandatory

            9      injunctions. A prohibitory injunction “preserve[s] the status quo,” Marlyn Nutraceuticals, Inc. v.

          10       Mucos Pharma GmbH & Co., 571 F.3d 873, 878 (9th Cir. 2009), which “refers . . . to ‘the last

          11       uncontested status which preceded the pending controversy,’” GoTo.com, Inc. v. Walt Disney Co.,

          12       202 F.3d 1199, 1210 (9th Cir. 2000) (quoting Tanner Motor Livery, Ltd. v. Avis, Inc., 316 F.2d 804,

          13       809 (9th Cir. 1963)). Here, Plaintiffs seek simply to maintain the status quo pending final resolution.

          14               The “last uncontested status” of the parties is the Named Children’s status as UCs on release

          15       to approved custodians pursuant to sponsorship agreements. See, e.g., Tanner, 316 F.2d at 809;

          16       GoTo.com, 202 F.3d at 1210. As the Ninth Circuit has said, ruling that the status quo entails the

          17       Named Children’s current incarceration “would predicate [Plaintiffs’] entitlement to preliminary

          18       relief on [their] having learned of the contested act sufficiently in advance to be able to file a lawsuit

          19       and seek a restraining order,” and would “allow persons to shield themselves from equitable claims

          20       simply by presenting potential disputants with faits accomplis.” Lopez v. Heckler, 725 F.2d 1489,

          21       1509 (9th Cir. 1984), vacated and remanded on other grounds, 469 U.S. 1082 (1984).

          22               Even if this Court found that certain aspects of the requested injunction are mandatory,

          23       granting relief is still proper where, as here, the “facts and law clearly favor” Plaintiffs and very

          24       serious damage will continue in the absence of an injunction. Stanley v. Univ. of S. Cal., 13 F.3d

          25       313, 1320 (9th Cir. 1994). The Ninth Circuit recently concluded that ongoing detention of

          26       undocumented immigrants detained on excessive money bond was precisely the kind of “extreme or

          27       very serious damage” that merits a mandatory injunction. Hernandez v. Sessions, No. 16-cv-56829,

          28       2017 WL 4341748, at *17 (9th Cir. Oct. 2, 2017). The court observed that “[m]andatory injunctions
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 14 of 34



            1      are most likely to be appropriate when the status quo . . . is exactly what will inflict the irreparable

            2      injury upon complainant.” Id. (internal quotation and citation omitted). There is no dispute that, for

            3      every day the Named Children (or other class members) are detained, they suffer irreparable injury.

            4      Fortuna Dec., Dkt. 61-8, ¶¶ 12-14, 27, 41.

            5             B.      Plaintiffs Have Shown a Likelihood of Success on the Merits
                                  1.     Plaintiffs Do Not Need a “Private Right of Action” to Raise Violations of
            6                            the TVPRA, and, Regardless, the TVPRA Provides Such a Right
            7             The Government argues that Plaintiffs cannot raise claims under the TVPRA at all.6 See Dkt.
            8      67 at 7-8. Plaintiffs have already explained why this argument is both irrelevant and incorrect as to
            9      their unlawful arrest claims, Dkt. 61-1 at 19-20, and Defendants’ expanded attack on Plaintiffs’ other
          10       claims also fails. Plaintiffs do not need a “private right of action” because this is a suit for equitable
          11       relief against the federal government, and three independent avenues permit them to raise statutory
          12       claims against their arrests and detention.
          13              First, petitioners suing in habeas can raise challenges to their ongoing custody based on
          14       statutory law, as Defendants acknowledge. See 28 U.S.C. § 2241(c)(3) (permitting petitioners to
          15       challenge ongoing “custody in violation of the Constitution or laws . . . of the United States”)
          16       (emphasis added); Dkt. 54 at 20 n.9. Indeed, this Court has already granted habeas relief to A.H.
          17       based on Defendants’ TVPRA violations. See Tr. 6/29/17, Dkt. 22, at 5:11-6:4 (ORR had violated its
          18       “obligation under the statute” to investigate A.H,’s custodial placement). Defendants respond that
          19       Plaintiffs “cannot challenge [their] arrest[s] in habeas,” Dkt. 67, at 7 n.1, but that is both wrong, see
          20       Section IV(B)(2) infra, and disregards that Plaintiffs are challenging their current detention, as well
          21       as their initial arrests. It is “uncontroversial” that habeas courts can grant relief based on such claims.
          22       Boumediene v. Bush, 553 U.S. 723, 779 (2008); INS v. St. Cyr, 533 U.S. 289, 301-02 (2001)
          23       (explaining that “historical core” of habeas allowed review of challenges to detention “based on . . .
          24       the erroneous application or interpretation of statutes”).
          25              Second, the Administrative Procedure Act (“APA”) permits suit to enforce statutory law, as
          26
                   6
          27         Just as the Government incorporates by reference arguments made in support of its motion to
                   dismiss into its argument in opposition to Plaintiffs’ PI Motion, Plaintiffs will address such legal
          28       arguments as they apply to the PI Motion. See Dkt. 67 at 22:19; 23:5-7, 12; 29:13-14.
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 15 of 34



            1      Defendants concede. See Dkt. 54, at 13. Defendants offer no reason why the APA would not allow

            2      suit for violations of the TVPRA here. See 5 U.S.C. § 706(2)(A); Nguyen Da Yen v. Kissinger, 528

            3      F.2d 1194, 1199 (9th Cir. 1975) ("defendants’ discretion does not extend to the violation of

            4      constitutional rights.").

            5              Third, courts have long entertained suits for equitable relief for violations of federal law

            6      regardless of whether a given statute provides a right of action. See Armstrong v. Exceptional Child

            7      Ctr., Inc., 135 S. Ct. 1378, 1384-85 (2015). Defendants claim that Plaintiffs are required to show

            8      “the existence of [a] Congressionally-created right” to bring TVPRA claims, Dkt. 67, at 7, but that is

            9      exactly backward. The default rule—on which all nine Justices in Armstrong agreed—is that such

          10       equitable suits remain available, absent Congressional intent to foreclose them. Compare Armstrong,

          11       135 S. Ct. at 1385-86, with id. at 1390-92 (Sotomayor, J., dissenting). There is nothing in the

          12       TVPRA (or any other statute) that forecloses equitable relief here, and the Government’s cited

          13       authorities address claims for money damages, see Northstar Fin. Advisors, Inc. v. Schwab Invs.,

          14       615 F.3d 1106, 1115 (9th Cir. 2010), or suits against nonfederal defendants, see Dkt. 61-1 at 20.

          15               Even assuming Plaintiffs must show a separate “private right of action,” the TVPRA

          16       provides such a right because the Named Children “are specifically mentioned as beneficiaries in the

          17       statute.” Opera Plaza Resid. Parcel Homeowners Ass’n v. Hoang, 376 F.3d 831, 835 (9th Cir. 2004)

          18       (citations omitted); Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 345 (2005) (implying “availability

          19       of private securities fraud actions” because statute describes protection of investors). The TVPRA

          20       contains numerous references to the children it intends to protect, see, e.g., 8 U.S.C. § 1232(a)(1),

          21       (a)(4), (a)(5)(D), (d)(2), requiring that their detention is “safe and secure” and in “the[ir] best

          22       interest[s].” Id. § 1232(c)(2)-(3).

          23                       2.      Plaintiffs Are Likely to Succeed on Their Unlawful Arrest Claims
          24                               a.      No Statute Bars Relief on Plaintiffs’ Unlawful Arrest Claims
          25               The Government argues that this Court cannot grant classwide relief on Plaintiffs’ unlawful

          26       arrest claims because of 8 U.S.C. § 1252(f)(1). See Dkt. 67 at 9-11, 31. This argument fails for three

          27       independent reasons. First, the Ninth Circuit has explained that Section 1252(f)(1) does not apply

          28       where Plaintiffs seek to enjoin unlawful procedures that the statute does not authorize. See
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 16 of 34



            1      Rodriguez v. Hayes, 591 F.3d 1105, 1121 (9th Cir. 2010) (“The requested injunction . . . does not

            2      seek to enjoin the operation of Part IV provisions to relieve harm caused by misinterpretation of

            3      other statutory provisions, but to enjoin conduct alleged not to be authorized by the proper operation

            4      of Part IV provisions.”). Here, Plaintiffs claim that Defendants’ arrest practices are not authorized by

            5      Section 1226(a), and conflict with the TVPRA. Dkt. 61-1 at 19-22, 32-33. Accordingly, their

            6      requested injunction does not seek “to enjoin the operation of the immigration detention statutes, but

            7      to enjoin conduct it asserts is not authorized by the statutes." Rodriguez, 591 F.3d at 1120; see also,

            8      e.g., Grimaldo v. Reno, 187 F.R.D. 643, 648 (D. Colo. 1999). Section 1252(f)(1) permits injunctive

            9      relief to “relieve harm caused by [Defendants’] misinterpretation.” Rodriguez, 591 F.3d at 1121.7

          10              The Government claims that this reading of Section 1252(f)(1) is “circular,” Dkt. 67 at 11,

          11       but cannot deny that Rodriguez read the statute in exactly this way. And there is nothing untoward

          12       about this interpretation. Section 1252(f)(1)’s legislative history shows that Congress intended to

          13       protect statutory removal procedures from being enjoined on a class-wide basis on constitutional

          14       grounds before the Supreme Court could consider the issue. See H.R. Rep. No. 104-469, pt. 1, at 161

          15       (1996). Thus, the provision “prohibit[s] injunctions that would broadly prevent the application of the

          16       new statutory procedures designed by Congress, on the basis of constitutional challenges that the

          17       Supreme Court had not yet resolved, rather than to prevent injunctions against unlawful

          18       implementation of those procedures by regulations that conflict with the statute.” See Gerald

          19       Neuman, Federal Courts Issues in Immigration Law, 78 Tex. L. Rev. 1661, 1683 n.129 (2000).

          20              Second, Section 1252(f)(1) does not apply to habeas actions because it makes no specific

          21       reference to repealing habeas corpus. “Implications from statutory text or legislative history are not

          22       sufficient to repeal habeas jurisdiction; instead, Congress must articulate specific and unambiguous

          23       statutory directives. . . .” St. Cyr, 533 U.S. at 299 (citation omitted). Unlike other subsections in

          24       Section 1252, subsection (f)(1) fails to mention habeas corpus. See, e.g., 8 U.S.C. §§ 1252(a)(2)(A),

          25       (B), (C), 1252(a)(4), (5), 1252(g). Congress thereby made clear its intention not to apply the statute’s

          26
                   7
          27         Even assuming J.E.F.M. v. Lynch was rightly decided, it concerned a case where the statutory
                   claims had been dismissed, and also did not address the other arguments Plaintiffs raise here. No.
          28       14-cv-1026-TSZ, 2015 WL 12030113, at *1 (W.D. Wash. May 5, 2015).
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 17 of 34



            1      limitations to habeas actions like this one. See Nken v. Holder, 556 U.S. 418, 430-31 (2009).

            2              Third, the Government does not address Plaintiffs’ prayer for declaratory relief, which is

            3      available to the putative class regardless of the application of Section 1252(f)(1). See Rodriguez, 591

            4      F.3d at 1119 (finding that Section 1252(f)(1) did not preclude declaratory relief because, inter alia,

            5      “‘restrain’ . . . is best read to refer to temporary injunctive relief”) (citation omitted); Alli v. Decker,

            6      650 F.3d 1007, 1013 (3d Cir. 2011) (“[I]t is apparent that the jurisdictional limitations in [Section]

            7      1252(f)(1) do not encompass declaratory relief.”); Reid v. Donelan, 297 F.R.D. 185, 193 (D. Mass.

            8      2014). Defendants would presumably comply with declaratory relief requiring them to cease their

            9      unlawful arrest practices. See, e.g., Khoury v. Asher, 3 F. Supp. 3d 877, 892 (W.D. Wash. 2014). 8

          10               Defendants also suggest that 8 U.S.C. § 1226(e) precludes Plaintiffs’ unlawful arrest claims.

          11       Dkt. 67 at 11, n.3. Controlling law forecloses this argument because Plaintiffs are bringing

          12       constitutional and statutory challenges to Defendants’ arrest practices, not to the agency’s

          13       discretionary judgment. See, e.g., Hernandez, 2017 WL 4341748, at *7 (“[Section] 1226(e) does

          14       not . . . preclude . . . habeas jurisdiction over constitutional claims or questions of law.”) (internal

          15       quotation and citation omitted); Singh v. Holder, 638 F.3d 1196, 1202 (9th Cir. 2011); R.I.L.-R. v.

          16       Johnson, 80 F. Supp. 3d 164, 176-77 (D.D.C. 2015).

          17                               b.      Defendants’ Practices Violate the Fourth Amendment and the
                                                   TVPRA
          18
                           The Government contends that the Fourth Amendment imposes no limit to the number of
          19
                   arrests that can be made based on the pendency of removal proceedings under 8 U.S.C. § 1226,
          20
                   dismissing numerous cases to the contrary as “inapplicable criminal case law.” Dkt. 67 at 12; cf. Dkt.
          21
                   61-1 at 21. But statutory arrest authority is always bound by the limits of the Fourth Amendment,
          22
                   even in the immigration context. See Miranda-Olivares v. Clackamas Cnty., No. 12-cv-2317, 2014
          23
                   8
          24         Section 1252(f)(1) is inapplicable here for one final reason: Even assuming it otherwise prohibits
                   the entry of injunctive relief, the statute’s last clause permits a court to “enjoin or restrain” the
          25       operation of the relevant immigration statutes “with respect to the application of such provisions to
                   an individual alien against whom proceedings under such part have been initiated.” 8 U.S.C.
          26       § 1252(f)(1) (emphasis added). In other words, the statute bars classwide injunctions sought by
          27       individuals who have not yet been subjected to immigration proceedings. In contrast, the Named
                   Children—and the class members they seek to represent—are all juveniles “against whom
          28       proceedings . . . have been initiated.” Id.; cf. Califano v. Yamasaki, 442 U.S. 682, 700 (1979).
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 18 of 34



            1      WL 1414305, at *11 (D. Or. Apr. 11, 2014) (county liable under Fourth Amendment for detaining

            2      individual in response to an immigration detainer issued by ICE under 8 U.S.C. § 1357(d) and 8

            3      C.F.R. § 287.7); Oliva-Ramos v. Att’y Gen., 694 F.3d 259, 283-84 (3d Cir. 2012) (explaining that

            4      ICE’s arrest authority is construed to comply with Fourth Amendment limits). Defendants do not—

            5      and cannot—explain how ICE’s statutory authority to arrest removable UCs can supersede Fourth

            6      Amendment reasonableness limits on making repeated arrests, without changed circumstances, after

            7      ORR has released children to appropriate sponsors.

            8             The Government’s main case, Abel v. United States, did not involve the rearrest of an

            9      individual who had previously been released pending removal proceedings. See Dkt. 67 at 12, citing

          10       362 U.S. 217, 232 (1960). Far from suggesting that arrests pursuant to administrative warrants are

          11       always constitutional, Abel merely held that the particular immigration arrest in that case complied

          12       with the Fourth Amendment. Moreover, Abel distinguished Carlson v. Landon, where the Supreme

          13       Court directed the release of a noncitizen who had been rearrested on his original warrant after

          14       release on bail. 342 U.S. 524, 546-47 (1952). Just as Plaintiffs urge here, Carlson applied “the rule

          15       in criminal cases” to “require . . . a new warrant” for an arrest in a civil deportation proceeding

          16       where the noncitizen had previously been released on bail. Id. at 538; see also Rubinstein v.

          17       Brownell, 206 F.2d 449, 455 (D.C. Cir. 1953), aff’d, 346 U.S. 929 (1954) (preliminary injunction

          18       should issue to restrain Attorney General from revoking bail and detaining immigrant pending

          19       deportation proceedings absent risk of safety or flight).9

          20              The Government also argues that “the absence of any language [in the TVPRA] regarding

          21       arrests” makes clear that the TVPRA does not “govern arrests of minors.” Dkt. 67 at 13. Yet the

          22       Government makes little attempt to square its position with the TVPRA, which prescribes a detailed

          23
                   9
          24         The Government’s repeated assertion that the only injunctive remedy for unlawful arrest is
                   suppression of evidence continues to ignore the long history of cases prohibiting immigration
          25       authorities from arresting people on insufficient grounds. See Dkt. 67 at 9:7-13; PI Mot., Dkt. 61-1,
                   at 20, citing LaDuke v. Nelson, 762 F.2d 1318 (9th Cir. 1985). See also Int’l Molders’ and Allied
          26       Workers’ Local Union No. 164 v. Nelson, 799 F.2d 547, 551 (9th Cir. 1986) (record supported
          27       issuance of preliminary relief to address “systemic policy and practice of fourth amendment
                   violations” by immigration agency in conducting searches and making arrests) (internal quotations
          28       and citation omitted).
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 19 of 34



            1      scheme governing the custody and release of juveniles, endows HHS (not ICE) to make decisions

            2      concerning their care and placement, and requires placement of juveniles in the “least restrictive

            3      settings” possible. See Dkt. 61-1 at 21-22. Not only would the Government’s reading of Section

            4      1226(a) allow it to unilaterally undo ORR’s custodial determinations, the scheme contemplated by

            5      the Government is truly nightmarish. Under the Government’s theory, a child can be apprehended by

            6      DHS, turned over to ORR, released by ORR to a sponsor, and then at any time thereafter rearrested

            7      by DHS on the original ground of “removability.” HHS then detains the child for 30 days, and

            8      probably much longer, while it “again determine[s] ‘the least restrictive setting that is in the best

            9      interests of the child.’” Dkt. 67, at 13. In the event that HHS again releases the child to the sponsor,

          10       nothing prevents DHS from rearresting the child yet again, and repeating the same cycle ad

          11       infinitum.10 But “[a]bsent some compelling justification, the repeated seizure of a person on the

          12       same probable cause cannot, by any standard, be regarded as reasonable under the Fourth

          13       Amendment.” United States v. Kordosky, No. 88-cr-0052, 1988 WL 238041, at *7 n.14 (W.D.Wis.

          14       Sept. 12, 1988). For these reasons, Plaintiffs are likely to prevail on their unlawful arrest claims.

          15                      3.      Plaintiffs Are Likely to Succeed on Their Procedural Due Process Claims
                                          a.     The Government’s Existing Practices Do Not Comport With Due
          16                                     Process.
          17              Defendants fail to address how their existing practices satisfy due process under the
          18       balancing test required by Mathews v. Eldridge, 424 U.S. 319, 334-35 (1976). Indeed, the experience
          19       of the three Named Children exposes how the Government’s practices led to an egregious loss of
          20       liberty: months after being taken from their parents and incarcerated, and despite an absence of
          21       credible evidence to support their detention, A.H., F.E., and J.G. continue to languish in ORR
          22       custody with no clear path as to how to secure their liberty and reunite with their parents.11
          23       10
                      Under the current scheme, it appears that ORR is not exercising its judgment to pursue “the best
          24       interests of the child,” as mandated by Congress, but is instead keeping children in indefinite
                   detention due to
          25                                  Corkery Dec., Dkt. 61-2, Ex. E (HHS), at 3729, 3568.
                   11
          26          Defendants put a new spin on their argument that the juvenile Plaintiffs lack any due process
                   protection against their unlawful detention: that the circumstances of the Named Children’s entry
          27       into this country “assimilate” them to the status of arriving noncitizens who supposedly lack due
                   process rights. Dkt. 67, at 14. This argument fails to address Plaintiffs’ contention that all
          28       noncitizens—whether “arriving” or not—have constitutional rights against their unlawful custody.
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 20 of 34



            1             The Government disclaims any notice and hearing requirement for their initial incarceration

            2      of the UCs by arguing that ORR is entitled to blindly follow DHS’s assertion that any UC is a gang

            3      member. Dkt. 67 at 23-26. But the record shows that such reliance creates a high risk of erroneous

            4      deprivation. First, the original SCPD arrest records on which DHS and ORR relied to detain A.H. are

            5      self-contradictory. See Corkery Dec., Dkt. 61-2, Ex. E (HHS), at 245-47 (including A.H.’s denial of

            6      gang membership to one officer and a report by a second officer that he “self admitted” gang

            7      membership to a third officer). Second, as Plaintiffs’ expert Susan Cruz testifies, ICE had no

            8      reasonable basis to believe that any Named Child was a gang member because it relies on over-

            9      inclusive “indicia” that do not accurately identify gang affiliation. See Cruz Dec., Dkt. 61-7, ¶¶ 28-

          10       46. Even Defendant Cardall has admitted that Yolo often found the evidence of gang affiliation of

          11       the UCs “lacking or insufficient.” See Corkery Dec., Dkt. 61-2, Ex. C (RFA Resp.), at 2-3; see also

          12       Corkery Dec., Dkt. 61-2, Ex. D (Supp. RFA Resp.), at 2. The Government tries to dismiss this

          13       admission by stating that Yolo’s assessment was made “at a later time.” Dkt. 67 at 25, n.7. But Yolo

          14       sought and evaluated the same information available when ICE arrested and ORR incarcerated the

          15       UCs. The Government offers no reason (and none exists) why it should not have reached the same

          16       conclusion prior to the Named Children’s arrest and transfer to secure detention.

          17              ORR claims it is unable, within the 72-hour statutory period, to evaluate a claim of gang

          18       affiliation as to each UC referred to it, but the agency has provided no evidence to support this

          19       assertion. See Dkt. 67 at 24. State procedures for emergency removal of children from their homes

          20       regularly require notice and a temporary custody hearing within 72 hours (or even less time). Dkt.

          21       61-1, at 37, n.24 (citing examples). The Supreme Court has held that even comparatively minor

          22       deprivations of liberty, such as school suspensions of less than 10 days, can only proceed after notice

          23       and a prompt hearing. Goss v. Lopez, 419 U.S. 565, 581-83 (1975). A federal agency responsible for

          24

          25       See Dkt. 61-1 at 24-25. It is also wrong. See Santos v. Smith, No. 17-cv-0020, 2017 WL 2389722, at
                   *8 (W.D. Va. June 1, 2017). The Government’s only cited cases for this proposition concern
          26       noncitizens in expedited removal proceedings, which have nothing to do with this case. See United
          27       States v. Barajas-Alvarado, 655 F.3d 1077, 1088 (9th Cir. 2011); M.S.P.C. v. Customs & Border
                   Prot., 60 F.Supp.3d 1156, 1158 (D.N.M. 2014), vacated as moot, No. 14-cv-0769, 2015 WL
          28       7454248 (D.N.M. Sept. 23, 2015).
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 21 of 34



            1      the care of unaccompanied immigrant children surely cannot evade the same requirement adhered to

            2      by county agencies and school districts throughout the country. Given the Government’s claim it has

            3      instituted a system for “immediate” verification of information relevant to the child’s placement,

            4      Dkt. 67 at 24, n.6, it is hard to see why it cannot provide adequate process within 72 hours,

            5      particularly where the child is the subject of an existing sponsorship agreement.

            6             ORR, despite admitting that there is no basis for holding the Named Children in secure

            7      custody, claims it must detain them while finding a suitable custodian. See Dkt. 67 at 27-29.12 But

            8      this explanation is unconvincing. To begin, ORR’s only claimed basis for placing the children in

            9      secure custody—and for reevaluating the sponsor’s fitness—is the faulty gang allegations against the

          10       children. Once that basis falls away, so must any cause to question the parent’s fitness. More

          11       fundamentally, ORR cannot claim one basis for detaining the juveniles, and then when that basis

          12       unravels, look for another basis to justify continued detention. Rather than providing notice of the

          13       basis for its action and an opportunity to respond, the Government is casting about for a justification,

          14       without providing notice of the standards it is applying or the evidence upon which bases its

          15       decision, much less a hearing to test that evidence.

          16              ORR’s “family reunification” process is also constitutionally insufficient. See Dkt. 61-1 at

          17       34-36; Lassiter v. Dep’t of Soc. Servs., 452 U.S. 18, 37 (1981) (finding that “state intervention to

          18       terminate the relationship between [a parent] and her child must be accomplished by procedures

          19       meeting the requisites of the Due Process Clause.”); Beltran v. Cardall, 222 F. Supp. 3d 476, 485

          20       (E.D. Va. 2016) (finding that the reunification process “exhibits several deficiencies”). Plaintiff

          21       Saravia received a negative home study recommendation, but ORR did not explain why, or what she

          22       could do to address its concerns. Saravia Supp. Dec., Dkt. 61-14, ¶¶ 9-10. ORR’s own evaluators

          23       recommended release of F.E. to his mother, M.U., yet he still remains detained. See M.U. Dec., Dkt.

          24

          25       12
                      The Government’s assertion that Plaintiffs have not challenged the reunification process in their
                   Complaint is incorrect. Plaintiffs repeatedly asserted their rights to family integrity and to be free of
          26       excessive restraint, both of which are implicated in the failures of the reunification process. See
          27       Complaint ¶¶ 30, 62, 82, 93, 110(j), 130, 132, 136, 144(b). Moreover, the Government cannot be
                   surprised by the inclusion of the family reunification process in this case, after repeatedly putting it
          28       at issue. Dkt. 54 at 18; Dkt. 15 at 9.
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 22 of 34



            1      61-12, ¶¶ 12, 16. This “opaque,” Beltran, 222 F. Supp. 3d at 485, and “extremely troubling,” Santos,

            2      2017 WL 2389722, at *12, process leaves Plaintiffs in the same position they were in at the start of

            3      this case: their children are being detained by ORR on false charges, with no opportunity to

            4      challenge that detention “at a meaningful time and in a meaningful manner.” Mathews, 424 U.S. at

            5      333 (internal quotations and citation omitted).

            6                             b.     The Flores Bond Hearing Process Is Insufficient
            7             The Government also contends that Flores bond hearings can resuscitate an otherwise infirm

            8      process. This argument fails for several reasons. First, the Government does not guarantee that these

            9      bond hearings will happen before juveniles are transferred to secure custody hundreds or thousands

          10       of miles away from their families, communities, and preexisting counsel. Plaintiffs should not

          11       undergo such serious deprivations before being provided any process to challenge their custody. See

          12       Dkt. 61-1, at 36. Indeed, F.E.’s attorney requested a bond hearing on August 22, 2017, but F.E. has

          13       still not had it. Johnson Dec., Dkt. 61-17, ¶ 14. There is no evidence to suggest this delay is unusual

          14       or that Plaintiffs could expect a prompt hearing if they requested one.

          15              Second, the Government’s operation of Flores bond hearings renders them procedurally

          16       deficient. To begin, the Government puts the burden on the UC to show that he or she does not pose

          17       a danger to the community or is not a flight risk, ORR Guide 2.9,13 in contravention of settled

          18       doctrine holding that where serious interests are at stake, the Government must bear the burden of

          19       proof. See, e.g., Addington v. Texas, 441 U.S. 418, 427 (1979); Stanley v. Illinois, 405 U.S. 645, 656-

          20       57 (1972); cf. Schall v. Martin, 467 U.S. 253, 277 (1984). In addition, the immigration judge may

          21       assess the UC’s dangerousness or flight risk based on “any information that is available.” 8 C.F.R.

          22       § 1003.19. The Government’s use of unreliable gang allegations creates a serious risk of crediting

          23       the Government’s flawed evidence of gang involvement. See Pisciotta Decs., Dkt. 67-2, 67-3, 67-4

          24
                   13
                      The Government disingenuously suggests that notice of one’s right to a bond hearing is sufficient
          25       to provide notice and an opportunity to be heard within the meaning of the Due Process Clause. See
                   Dkt. 67, at 29, n.8. But due process requires “notice that gives an agency’s reason for its action in
          26       sufficient detail that the affected party can prepare a responsive defense.” Barnes v. Healy, 980 F.2d
          27       572, 579 (9th Cir. 1992); see also Saavedra v. Scribner, 482 F. App’x. 268, 270-71 (9th Cir. 2012)
                   (prisoner in solitary confinement “must receive some notice of the charges against him” or “the
          28       factual basis leading to consideration for confinement.”) (internal quotation and citations omitted).
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 23 of 34



            1      (asserting gang affiliation based on unnamed sources and documents); Matter of Grijalva, 19 I.&N.

            2      Dec. 713, 721-22 (BIA 1988).14 See also Johnson Dec., Dkt. 61-17, ¶ 10. Moreover, although the

            3      TVPRA requires that ORR facilitate access to counsel for UCs in its custody, ORR-funded legal

            4      service providers may not use ORR funding to represent youth in Flores bond hearings. See Holguin

            5      Dec. ¶¶ 4-6; see also id., Ex. 5. Thus, UCs who do not have retained counsel would be forced to

            6      appear pro se to seek an order of release from an immigration court.

            7             Third, and most important, bond hearings will not afford complete relief to Plaintiffs because

            8      ORR retains the authority to keep children in custody even if an Immigration Judge determines they

            9      are not risks to themselves or others. ORR Guide § 2.9. As ORR has instructed its own personnel,

          10       bond hearings “cannot order a UAC released from ORR. For UAC in shelter care, group homes, and

          11       in some cases staff secure facilities, ORR has already determined that the UAC is not a danger, and a

          12       bond hearing would have no effect.” Holguin Dec., Ex. 2, at 1 (emphasis added). ORR has already

          13       stepped down the Named Children to shelters or staff secure facilities, implicitly acknowledging that

          14       the Named Children are not dangerous. A bond hearing would be futile for them.

          15                     4.      Plaintiffs Are Likely to Succeed on the Merits of Their Substantive Due
                                         Process and Flores Claims
          16

          17              The Government raises only one new argument against Plaintiffs’ third claim for relief for

          18       excessive restraint in violation of the TVPRA and substantive due process: that Plaintiffs have no

          19       substantive due process right to family integrity because of ORR’s “determination” that the parents

          20       are unfit sponsors. Dkt. 67 at 17. But Plaintiffs have provided substantial evidence that the Named

          21       Children’s initial arrests and placement in secure custody were unfounded, as well as evidence that

          22       ORR’s own officials support the Named Children’s release. ORR’s unwarranted denials of family

          23       14
                      The Government’s conduct as to the Named Children underscores this point. In this proceeding,
          24       with stricter evidentiary standards than apply in immigration court, the Government has sought to
                   introduce evidence of gang affiliation based on records and materials that have not been produced,
          25       and possibly even photographs that do not depict any of the Named Children. See T. Simon. Dec.,
                   ¶¶ 2-4, Ex. 1 (De La Cruz email
          26                                                                                        If an immigration
          27       judge credited that hearsay evidence, the Government would be required to maintain custody of the
                   Named Children until they reach the age of 18, at which time
          28               . See Corkery Dec., Dkt. 61-2, Ex. E (HHS), at 3728-31.
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 24 of 34



            1      reunification therefore prolong the Named Children’s confinement, in violation of their substantive

            2      due process and TVPRA rights.

            3             F.E.

            4

            5              Corkery Dec., Dkt. 61-2, Ex. E (HHS), at 3833-35, 3800-02.

            6

            7                                                               Id. at 3801.15 In addition,

            8

            9                                                      Id. The FFS and FFS Supervisor averred that

          10

          11                                                             and that they

          12                          Id. at 3802; see also Kempner Dec., Ex. A (HHS), at 822-42

          13                                                                               . The Government claims F.E.

          14       is a gang member based solely on inadmissible evidence that (1) he was seen in the presence of

          15       “known MS-13 gang members,” and (2) “503” was written in one of his notebooks. Pisciotta Dec.,

          16       Dkt. 67-3, ¶ 4(a), (c); but see Cruz Dec., Dkt. 61-7, ¶ 20 (interaction with gang members is weak

          17       indicator of gang affiliation) and ¶ 23 (country code, standing alone, more likely to indicate national

          18       pride than gang affiliation). To the contrary, staff at the ORR facilities where F.E. has been

          19       incarcerated corroborate his own declaration that he is not a gang member. F.E. Dec., Dkt. 61-11,

          20       ¶ 8; Corkery Dec., Dkt. 61-2, Ex. E (HHS), at 4747 (Defendant Esquivel

          21                                                                   ; Johnson Dec., Dkt. 61-17, ¶ 12(a), Ex. 4

          22       (Shenandoah case manager wrote, “I do not have any evidence confirming that [F.E.] is a gang

          23       member”).

          24              A.H. The Court is already familiar with A.H.’s arrest and detention. Plaintiffs have presented

          25       additional evidence that a) he was stepped down to a staff-secure facility, b) he has maintained the

          26       highest level of good behavior at that facility, and c) his mother complied with all the requests made

          27       15
                     In fact, James De La Cruz rejected the photos as evidence that was adverse to F.E. See T. Simon.
          28       Dec., Ex. 1 (noting the photos “do not appear to match the UAC that ORR has in custody.”).
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 25 of 34



            1      of her for reunification but the request was denied. See A.H. Supp. Dec., Dkt. 61-13, ¶ 6; Saravia

            2      Supp. Dec., Dkt. 61-14, ¶¶ 3-12. Although Pisciotta misleadingly repeats third-hand allegations of

            3      gang affiliation from local police, see supra Section II, the Government provides no other evidence

            4      that A.H. is currently in the least restrictive appropriate setting, or that he could not be safely

            5      released to his mother.

            6             J.G. In a home study report dated August 27, 2017, a caseworker

            7                                Kempner Dec., Ex. A (HHS), at 1788-814. At Yolo, he pursued “education,

            8      socialization with his peers, and [was] respectful to the staff/peers in the center.” Id. at 1795; id. at

            9      1786-87 (Yolo report noting inter alia, J.G.

          10                                                               . Although Pisciotta now attempts to justify

          11       J.G.’s original classification as a gang member, he does not contradict

          12                                      . Cf. Pisciotta Dec., Dkt. 67-4, ¶ 4(a)-(g) and Nanos Dec., Dkt. 61-19,

          13       Ex. 8, at 2555; Corkery Dec., Dkt. 61-2, Ex. E (HHS), at 1786-87, 1795 (at Yolo, J.G. “showed no

          14       signs that his [sic] part of the MS 13 gang”); J.G. Dec., Dkt. 61-9, ¶ 26.

          15              The Government has not submitted evidence to support its continued detention of the Named

          16       Children, even as it concedes that each was stepped down because there was no evidence to keep

          17       them in secure custody (which is purportedly mandatory for gang members). See Sualog Dec, Dkt.

          18       67-1, ¶ 3. In addition, the Government provides no authority to support its claim that Plaintiffs must

          19       exhaust the bond hearing procedure. Dkt. 67, at 29-30. Exhaustion should not be required where it

          20       would be futile. See Shalala v. Ill. Council on Long Term Care, Inc., 529 U.S. 1, 13 (2000). F.E. and

          21       J.G. are already in the least restrictive settings available and therefore, by the Government’s own

          22       statement, “a bond hearing would have no effect.” Holguin Dec., Ex. 2, at 1. In addition, exhaustion

          23       should not be required where “irreparable injury will result,” Hernandez, 2017 WL 4341748, at *8,

          24       and the Named Children have already suffered serious injuries.

          25              For similar reasons, the Named Children’s custody violates the Flores Decree. As set forth

          26       above, Defendants’ conduct has violated numerous of the Named Children’s rights under the Decree,

          27       over which this Court retains de novo review. Flores Decree, Dkt. 54-2, ¶ 24C. Among other errors,

          28       the Government misapplied the governing legal standards concerning the Named Children’s custody,
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 26 of 34



            1      id., ¶¶ 11, 14, and failed to notify counsel before their transfers, id., ¶ 27. The Government does not

            2      answer these arguments, and instead repeats its jurisdiction and venue objections, which Plaintiffs

            3      have already refuted. See Dkt. 61-1, at 12-18. Defendants also insist that violations of the Flores

            4      Decree cannot be remedied in habeas, which Plaintiffs dispute. See id. at 27-28. But regardless of

            5      whether habeas provides a vehicle for raising those claims, Defendants concede that (at a minimum)

            6      APA review is available to entertain the Flores claims. Dkt. 54, at 20. Thus, it is undisputed that this

            7      Court has authority to grant relief to the Named Children based on Defendants’ Flores violations.

            8                     5.      The Harm to Plaintiffs, the Balance of the Equities, and the Public
                                          Interest All Weigh in Favor of Plaintiffs’ Requested Relief
            9             Defendants do not dispute that the detention of the Named Children and proposed class
          10       causes them grave harms. See Dkt. 61-1, at 40-41. Their only response on this point is that the Flores
          11       Immigration Judge bond process and ORR’s release procedures “alleviate[] any risk of irreparable
          12       harm,” Dkt. 67 at 31, but Plaintiffs have shown why those procedures do not protect them. See supra
          13       Section IV(B)(3)(b). More fundamentally, Plaintiffs’ core claim is that Defendants’ existing
          14       procedures are insufficient. In light of Plaintiffs’ ongoing detention, and the risk that future class
          15       members will be deprived of their fundamental rights, they should not be required to undergo
          16       constitutionally inadequate procedures before seeking relief before this Court.
          17              Nor have Defendants identified any countervailing interest that weighs against granting
          18       relief. They contend that Plaintiffs’ requested relief contradicts “the express wishes of Congress,”
          19       Dkt. 67 at 31, but the TVPRA actually bars Defendants’ conduct here. Plaintiffs’ requested relief
          20       therefore vindicates, not undermines, legislative intent. See Rodriguez v. Robbins, 715 F.3d 1127,
          21       1145 (9th Cir. 2013). Similarly, “public interest concerns are implicated when a constitutional right
          22       has been violated, because all citizens have a stake in upholding the Constitution.” Preminger v.
          23       Principi, 422 F.3d 815, 826 (9th Cir. 2005).16 Defendants further claim (without evidence) that an
          24       injunction “would harm the Government’s strong interest in . . . enforcement of the immigration
          25
                   16
                     Defendants cite Planned Parenthood of Greater Tex. v. Abbott, 734 F.3d 406 (5th Cir. 2013), for
          26       the view that enjoining a statute inherently causes the government irreparable harm, Dkt. 67 at 31,
          27       but the Ninth Circuit has never adopted that rule. See Latta v. Otter, 771 F.3d 496, 500 & n.1 (9th
                   Cir. 2014). And Plaintiffs do not seek to enjoin any statute here, but rather seek to require
          28       Defendants to comply with their statutory and constitutional obligations.
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 27 of 34



            1      laws,” Dkt. 67, at 31, but the government’s power over immigration “is subject to important

            2      constitutional limitations,” Zadvydas v. Davis, 533 U.S. 678, 695 (2001). As such, courts routinely

            3      grant injunctions in the immigration context. See, e.g., Hernandez, 2017 WL 4341748, at *15; Cnty.

            4      of Santa Clara v. Trump, Nos. 17-cv-0574, 17-cv-0485, 2017 WL 1459081, *27 (N.D. Cal. Apr. 25,

            5      2017); R.I.L.-R., 80 F. Supp. 3d at 191.

            6                     6.      The Court Should Order the Release of the Named Children
            7             In light of the severe deprivations that the Named Children have already endured, this Court

            8      should order them released from ORR custody and reunified with their parents. This Court has

            9      “broad discretion in conditioning a judgment granting habeas relief,” Hilton v. Braunskill, 481 U.S.

          10       770, 775 (1987). The severe violations of their procedural due process rights, standing alone, would

          11       be grounds for release. See Beltran, 222 F. Supp. 3d at 489 (ordering release in habeas for child

          12       about to turn 18 because additional process would be of limited value); Santos, 2017 WL 2389722,

          13       at *14 (ordering release in light of “the proximity to [UC’s] eighteenth birthday and the lengthy

          14       delays that he and his mother have already endured as to their request for family reunification”). The

          15       Named Children’s excessive restraint claims also show that the Government never had a proper basis

          16       to detain them, and supply a further basis for their release.

          17              Defendants insist that this Court lacks authority to grant relief to the Named Children

          18       because they were not in Yolo or Fairfield at the time the Amended Petition was filed. Dkt. 66, at 5-

          19       6; Dkt. 67 at 4-5. This argument is incorrect, for three independent reasons. See Dkt. 61-1 at 12-15,

          20       n.2, 18-19. First, if this Court finds that national-level officials—like the heads of ORR and ICE—

          21       are the proper respondents here, then it would have authority to direct those respondents to order

          22       release. Id. at 12-14. Defendants cannot plausibly claim that officials outside this District would be

          23       beyond this Court’s jurisdiction, when habeas courts throughout the country routinely direct

          24       national-level respondents to grant relief. Id. (citing cases). Second, if this Court deems Elicia Smith

          25       the proper respondent here, the Amended Petition alleges, and the evidence shows, that Defendants

          26       regularly transfer the Named Children to different facilities throughout the country. Id. at 15-19.

          27       Defendants maintain that they were correct to put A.H. and J.G. in Yolo and F.E. in Fairfield.

          28       Cardall MTD, Dkt. 52, at 7-8; Am. Pet., Dkt. 31, ¶¶ 10, 12, 14, 115. Accordingly, the Named
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 28 of 34



            1      Children could easily return to Ms. Smith’s custody again. See Peyton v. Rowe, 391 U.S. 54, 55

            2      (1968) (recognizing that future detention could be challenged in habeas); Demery v. Arpaio, 378

            3      F.3d 1020, 1025-26 (9th Cir. 2004) (finding that case not moot where there was “a likelihood of

            4      recurrence” of future custody); Demjanjuk v. Meese, 784 F.2d 1114, 1115-16 (D.C. Cir. 1986).

            5      Third, this Court retains authority—separate and apart from its habeas powers—under Section 1331

            6      and/or the APA to order injunctive and declaratory relief for the named Plaintiffs. Dkt. 61-1 at 15.17

            7      V.     THE COURT SHOULD PROVISIONALLY CERTIFY THE PROPOSED CLASS
            8             A.      Plaintiffs Meet the Requirements for Class Certification Under Rule 23
            9             Defendants do not contest that the Named Children’s claims are typical of the class, or that

          10       the Named Children and their counsel will adequately represent the class’s interests. They challenge

          11       only the sufficiency of Plaintiffs’ showings regarding numerosity under Rule 23(a)(1), commonality

          12       under Rule 23(a)(2), and the appropriateness of uniform injunctive relief under Rule 23(b)(2). The

          13       Court should reject Defendants’ arguments and provisionally certify the Proposed Class for the

          14       purpose of entering a preliminary injunction:

          15              1.      Prohibiting DHS from arresting Sponsored UCs based on removability alone and

          16       absent probable cause of changed circumstances of non-trivial criminal conduct or that the UC poses

          17       a danger to himself or others, provided dangerousness cannot be based on gang allegations based

          18       solely on clothing, appearance, and associations;

          19              2.      Prohibiting ORR from placing Sponsored UCs in secure or staff secure facilities

          20       under the oversight of the San Francisco Federal Field Specialist without (a) notice of the facts and

          21       evidence upon which ORR recommends secure placement and (b) a hearing before a neutral

          22       decision-maker in which the Sponsored UC has the right to counsel; has the opportunity to confront

          23       witnesses; and in which ORR bears the burden of establishing that the UC is a danger to himself or

          24       others; and

          25
                   17
                      The Court retains authority to order relief for A.H. for one additional reason, which is that he was
          26       transferred after he filed the first Petition in this Court. See Dkt. 61-1 at 15 n.2. Defendant Cardall is
          27       wrong to suggest that the Amended Petition does not “relate back” to the original Petition for this
                   purpose, since he relies on out-of-circuit cases that do not address habeas. See also Willner v.
          28       Manpower Inc., No. 11-CV-02846-JST, 2014 WL 2939732, at *5-6 (N.D. Cal. June 30, 2014).
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 29 of 34



            1             3.      Prohibiting ORR from continuing to detain Sponsored UCs who are or have been in

            2      custody under the oversight of the San Francisco Federal Field Specialist without notice of the facts

            3      and evidence upon which ORR recommends secure placement or continued ORR custody at a

            4      hearing before a neutral decision-maker in which the Sponsored UC and sponsor have the right to

            5      counsel; the opportunity to confront witnesses; and in which ORR bears the burden of justifying the

            6      UC’s continued secure placement or custody.

            7                     1.      The Proposed Class Is so Numerous that Joinder Is Impracticable

            8             As discussed in Plaintiffs’ Opening Brief, the Proposed Class is sufficiently numerous, and

            9      the characteristics of the individual Class Members—who are indigent, underage, geographically

          10       dispersed and transitory—as well as the prospective nature of the relief sought by Plaintiffs, make

          11       joinder of all Class Members impracticable.

          12              Defendants argue that Plaintiffs did not carry their burden to identify a sufficient number of

          13       existing Class Members. But documents produced by the Government show that

          14                                                                                                      Kempner

          15       Dec. ¶ 4; id., Ex. A (HHS), at 2564-2802; Corkery Dec., Dkt. 61-2, Ex. E (HHS), at 3728-31. This is

          16       more than sufficient to satisfy Rule 23(a)(1). Indeed, courts frequently certify similarly-sized classes,

          17       particularly where, as here, the class includes future unknown class members. See, e.g., Bruce v.

          18       Christian, 113 F.R.D. 554, 557 (S.D.N.Y. 1986) (court certified class of “present and future” public

          19       housing tenants comprised of 16 identified members, noting that “the fluid composition of the public

          20       housing population [wa]s particularly well suited for status as a class because while the identity of

          21       the individuals involved may change, the nature of the harm and the basic parameters of the group

          22       affected remain constant.”); see also Cypress v. Newport News Gen. & Nonsectarian Hosp. Ass’n,

          23       375 F.2d 648, 653 (4th Cir. 1967) (18 members); Bublitz v. E.I. du Pont de Nemours & Co., 202

          24       F.R.D. 251, 256 (S.D. Iowa 2001) (17 members); Dale Elecs., Inc. v. R.C.L. Elecs., Inc., 53 F.R.D.

          25       531 (D.N.H. 1971) (13 members).

          26              Defendants next contend that the Court should not consider prospective Class Members in

          27       determining whether joinder is impracticable because Plaintiffs have “provide[d] no concrete basis”

          28       on which the Court could conclude that additional Sponsored UCs will become Class Members in
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 30 of 34



            1      the future. Dkt. 67, at 24. Defendants offer no support for the imposition of a “concreteness”

            2      requirement, and—to the contrary—it is well-established that Plaintiffs “may rely on the reasonable

            3      inference . . . that the number of unknown and future members . . . is sufficient to make joinder

            4      impracticable.” Civil Rights Educ. & Enf’t Ctr. V. Hosp. Props. Trust, 317 F.R.D. 91, 100 (N.D. Cal.

            5      2016). As Plaintiffs have explained, this inference is readily drawn, including from

            6

            7

            8

            9                                                                                                              .

          10       Corkery Dec., Ex. E (HHS), at 3729-31. Tellingly, Defendants fail to address this memo in their

          11       Opposition, or to rebut the evidence that the Government’s policies will generate substantial

          12       numbers of future Class Members, despite being in exclusive possession of such information.

          13              Defendants’ final argument is that Plaintiffs “do not explain how any of th[e five additional]

          14       factors [considered by courts] make [joinder impracticable].” Dkt. 67, at 35. These factors include:

          15       “(1) the judicial economy that will arise from avoiding multiple actions; (2) the geographic

          16       dispersion of members of the proposed class; (3) the financial resources of those members; (4) the

          17       ability of the members to file individual suits; and (5) requests for prospective relief that may have

          18       an effect on future class members.” McCluskey v. Tr. of Red Dot Corp. Emp. Stock Ownership Plan

          19       & Trust, 268 F.R.D. 670, 674 (W.D. Wash. 2010) (internal quotations and citations omitted). But

          20       Defendants ignore the evidence cited in Plaintiffs’ Brief, Dkt. 61-1, establishing that UCs often lack

          21       the knowledge, skills and resources to understand, let alone assert, their statutory and constitutional

          22       rights, which reduces the likelihood that UCs will file individual suits. See Mass Dec., Dkt. 61-4,

          23       ¶ 6.18 ORR’s frequent transfers of UCs to different facilities also obstructs their ability to understand

          24       their legal rights and proceed individually. See J.G. Dec., Dkt. 61-9, ¶ 21-23; Mass Dec., 61-4, ¶ 7;

          25       Lyon v. U.S. Immigration and Customs Enf’t, 300 F.R.D. 628, 636 (2014) (finding numerosity met

          26       18
                      Defendants provide no evidence to support their claim that ORR-funded legal services
          27       providers—whom ORR prohibits from representing youth in Flores bond hearings—could assist
                   individual class members to pursue the constitutional and statutory claims brought in this litigation.
          28       See Holguin Dec., ¶¶ 4-7; Exs. 4-5.
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 SAN FRANCISCO                                                                                 CASE NO. 3:17-CV-03615-VC
                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 31 of 34



            1      “because class members are ‘transitory’ (e.g., they may be transferred to other facilities, they may be

            2      removed, or they may be permitted to stay.)”); Bruce, 113 F.R.D. at 557 (noting that “fluid

            3      composition” of class made it “particularly well suited” for class action treatment.). The fifth

            4      factor—whether the matter involves “requests for prospective relief that may have an effect on

            5      future class members”—clearly tilts in Plaintiffs’ favor. McCluskey, 268 F.R.D. at 674.

            6                     2.      Plaintiffs’ Class Claims Present Common Questions With Common
                                          Answers
            7

            8             The Proposed Class similarly satisfies the commonality requirements of Rule 23(a)(2).

            9      Defendants argue that commonality is defeated by hypothetical variations in the evidence regarding

          10       individual Class Members’ alleged gang affiliation and custody. Dkt. 67, at 38-39. These arguments

          11       miss the forest for the trees. Plaintiffs’ class claims do not turn on the strength or sufficiency of the

          12       evidence of their alleged gang affiliation. Rather, they turn on whether Defendants’ procedures (or

          13       lack thereof) for arresting and detaining Class Members violate constitutional and statutory rights.

          14       These violations require resolution of the same questions and seek to remedy the same injury for all

          15       Class Members. See Walters v. Reno, 145 F.3d 1032, 1046 (9th Cir. 1998) (finding commonality

          16       satisfied notwithstanding “[d]ifferences among the class members with respect to the merits” of their

          17       claims); Rosas v. Baca, No. 12-cv-0428, 2012 WL 2061694, at *3 (C.D. Cal. June 7, 2012) (“In a

          18       civil rights suit such as this one . . . commonality is satisfied where the lawsuit challenges a system-

          19       wide practice or policy that affects all of the putative class members.”) (citation omitted).

          20              For example, Claim 1 requires the Court to resolve the legal question of whether DHS can

          21       rearrest a Sponsored UC based solely on removability. Dkt. 61-1 at 46. Claim 2 requires the Court to

          22       determine whether Class Members who are rearrested on allegations of gang affiliation are entitled

          23       to notice and a meaningful opportunity to be heard before a neutral decision maker, and whether the

          24       Government’s existing procedures satisfy due process. Id. Class Members allege that they are

          25       entitled to the same process regardless of the strength or absence of evidence of gang affiliation,

          26       which can be answered “in one stroke” as to all Class Members.19

          27
                   19
                      Contrary to Defendants’ suggestion, even Class Members for whom the allegations of gang
          28       affiliation are strong are entitled to process, and were therefore injured by Defendants’ conduct.
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                        Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 32 of 34



            1             Defendants’ argument that Plaintiffs’ class claims are incapable of generating common

            2      answers because they “presum[e] [] common facts that may well not be present,” Dkt. 67 at 38, is

            3      similarly misplaced. Plaintiffs have established that DHS has a common practice of rearresting

            4      Sponsored UCs based solely on removability and allegations of gang affiliation. See Dkt. 61-1 at 19-

            5      22. Similarly, it is ORR’s express policy

            6

            7                                                                             Corkery Dec., Ex. E (HHS), at

            8      3729. Plaintiffs do not ask the Court to “presume” anything. Rather, they simply ask the Court to

            9      determine whether Defendants’ policies violate Class Members’ constitutional and statutory rights.

          10                      3.     Plaintiffs Satisfy the Requirements of Rule 23(b)(2)
          11              Defendants acknowledge that the Ninth Circuit has held that Rule 23 contains no

          12       “ascertainability” requirement, but reframe their ascertainability challenge as a failure to comport

          13       with Rule 23(b)(2). See Dkt. 67, at 40, n.9 (citing Briseno v. ConAgra Foods, Inc., 844 F.3d 1121,

          14       1124, n.4 (9th Cir. 2017)). That is wrong.

          15              As an initial matter, courts in this circuit have held that “the ascertainability requirement does

          16       not apply to Rule 23(b)(2) classes,” for which it “serves little purpose.” In re Yahoo Mail Litig., 308

          17       F.R.D. 577, 597 (N.D. Cal. 2015); see also Escalante v. Cal. Physicians’ Serv., 309 F.R.D. 612, 621

          18       (C.D. Cal. 2015) (finding that court need not consider ascertainability on motion to certify class

          19       under Rule 23(b)(2)). The First, Third, Sixth and Tenth Circuits have all held the same. Cole v. City

          20       of Memphis, 839 F.3d 530, 541-42 (6th Cir. 2016); Yaffe v. Powers, 454 F.2d 1362, 1366 (1st Cir.

          21       1972) (holding that “the actual membership of [a Rule 23(b)(2)] class need not . . . be precisely

          22       delimited”); Shelton v. Bledsoe, 775 F.3d 554, 560 (3d Cir. 2015); Shook v. El Paso Cnty., 386 F.3d

          23       963, 972 (10th Cir. 2004). Indeed, such a requirement would undermine Rule 23(b)(2)’s function in

          24       permitting prosecution of “civil rights actions in which the members of the class are often incapable

          25       of specific enumeration.” Yaffe, 454 F.2d at 1366 (citation omitted). “In fact, many courts have

          26       found Rule 23(b)(2) well suited for cases where the composition of a class is not readily

          27
                   Lyon, 300 F.R.D. at 636 (rejecting argument that putative class members who would have been
          28       removed regardless of challenged practice were not injured by the alleged constitutional violation).
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                         Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 33 of 34



            1      ascertainable; for instance, in a case where the plaintiffs attempt to bring suit on behalf of a shifting

            2      prison population.” Shook, 386 F.3d at 972.

            3             Moreover, Defendants’ claim that it would not be possible to tell, at the time of arrest,

            4      whether a Sponsored UC will eventually be placed in a secure facility fails in light of ORR’s own

            5      policy, which

            6                             Corkery Dec., Dkt. 61-2, Ex. E (HHS), at 3729. Thus any Sponsored UC who is

            7      arrested by ICE and referred to ORR with allegations of gang affiliation will be considered by ORR

            8      for placement in a secure facility and therefore falls within the Proposed Class. The injunction

            9      sought by Plaintiffs would (1) prohibit Defendants from arresting such UCs solely on the basis of

          10       removability and allegations of gang affiliation absent probable cause of non-trivial criminal conduct

          11       or dangerousness, and (2) require ORR to provide meaningful due process to such UCs prior to or

          12       immediately after their placement in a secure facility, and therefore “provides the sole remedy

          13       necessary to protect the affected class.” Cole, 839 F.3d at 542.

          14              The Court may issue an injunction broader than, or even in absence of, a certified class, “if

          15       such breadth is necessary to give prevailing parties the relief to which they are entitled.” Easy Riders

          16       Freedom F.I.G.H.T. v. Cal. Highway Patrol, 92 F.3d 1486, 1501-02 (9th Cir. 2010). It is therefore

          17       within this Court’s power to issue an injunction to prevent the arrest of any Sponsored UC absent

          18       probable cause of non-trivial criminal conduct or dangerousness in order to ensure the Named

          19       Children, if released, are not rearrested based solely on removability and unfounded gang allegation

          20       in the future. Finally, if the proposed class definition, combined with uncertainty about when

          21       Sponsored UCs in ORR custody may be transferred to the jurisdiction of the San Francisco Federal

          22       Field Specialist, raises insurmountable concerns about the implementation of injunctive relief,

          23       Plaintiffs would be amenable to broadening the scope of the class.

          24       VI.    CONCLUSION
          25              The Court should grant Plaintiffs’ Motions for Preliminary Injunction and for Provisional

          26       Class Certification.

          27

          28
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                       Case 3:17-cv-03615-VC Document 73 Filed 10/13/17 Page 34 of 34



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